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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE


In Re Mammoth Energy Services, Inc.                       Civil Action No. 19-1682-RGA
Consolidated Stockholder Litigation


                                              ORDER

       Before the Court is Nominal Defendant’s Motion to Stay This Derivative Action Pending

Resolution of Certain Related Actions. (D.I. 19). Defendants Arty Straehla, Mark Layton, Arthur

Amron, Paul V. Heerwagen IV, Marc McCarthy, Jim Palm, Matthew Ross, Arthur Smith, Gulfport

Energy Corporation, and Wexford Capital LP joined the motion. (D.I. 28, 29). I have considered

the parties’ briefing (D.I. 20, 25, 26). For the following reasons, the motion (D.I. 19) is

GRANTED.

       Defendants seek a stay pending resolution of four related actions: (i) In re Mammoth

Energy Services, Inc. Securities Litigation, No. 19-cv-522-SLP (W.D. Okla.); (ii) United States of

America v. Tribble, No. 19-cr-541-FAB (D.P.R.); (iii) Mastec Renewables Puerto Rico, LLC v.

Mammoth Energy Services, Inc., et al., No. 20-cv-20263-RNS (S.D. Fla.); and (iv) In re The

Financial Oversight and Management Board for Puerto Rico, as representative of Puerto Rico

Electric Power Authority, No. 17-BK-4780-LTS, (Bankr. D.P.R.). (D.I. 19).

       The instant action is a derivative lawsuit brought by certain Mammoth stockholders on

behalf of Mammoth against certain Mammoth officers, directors, and stockholders. (D.I. 17 at ¶ 1).

Defendants contend that the instant action arises out of the same factual allegations as the four

related actions. (D.I. 20 at 7-10). Therefore, Defendants argue that a stay will promote judicial

economy and consistency. (Id. at 11-15).



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        Plaintiffs do not argue that the instant action involves different factual allegations from the

related civil cases, but instead argue that the difference in legal claims asserted and remedies

sought means that a stay is not appropriate. (D.I. 25 at 5-6). Regarding the related criminal action,

Plaintiffs argue that a stay is not warranted because, “While there is some factual overlap with [the

instant action], none of the parties overlap between the actions and the legal theories are vastly

different. Therefore, different facts are implicated.” (D.I. 25 at 6).

        Courts rely on three factors when determining whether a stay is appropriate: “(1) whether

granting a stay will simplify the issues for trial; (2) whether discovery is complete and a trial date is

set; and (3) whether granting a stay would cause the non-moving party to suffer undue prejudice

from any delay, or a clear tactical disadvantage.” Huvepharma Food v. Associated British Foods,

PLC, 2019 WL 3802472, at *1 (D. Del. Aug. 13, 2019).

        First, it is apparent to me that the resolution of the related actions will clarify, and

potentially resolve, some of the factual disputes at issue in the instant action, including those of

Plaintiffs’ Brophy claims. While a stay pending the resolution of the related actions may not

resolve any of Plaintiffs’ claims, a stay would certainly simplify the issues for trial. Thus, the first

factor weighs in favor of a stay.

        Second, the instant action is still at a very early stage. A scheduling order has not been

entered and a trial date has not been set. The second factor therefore also weighs in favor of a stay.

        Third, Plaintiffs have not shown that they would suffer from undue prejudice or a clear

tactical disadvantage if I were to grant a stay. Plaintiffs argue that Mammoth will be harmed by a

stay because a stay will delay any damages recoupment, increase the risk that relevant evidence

may be lost, and allow Defendants to continue to breach their fiduciary duties in the meantime.

(D.I. 25 at 7-8). These burdens, however, are not excessive enough to tip the balance against a stay.

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       Therefore, Defendants’ motion (D.I. 19) is GRANTED and the instant action is STAYED

pending resolution of the four related actions.



                                                      Entered this 3rd day of August, 2020.



                                                      _/s/ Richard G. Andrews_____
                                                      United States District Judge




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